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                                                        - EXHIBIT B -
                                                     MARK L. GUILFORD
                                    23 Inverness Way East #102, Englewood, CO 80112
                                      303.495.5191 | M.GUILFORD@ACCUMEDINTEL.COM
PROFILE:

       Finance and data analysis professional with extensive experience in statistical analysis and data transparency. Nine years spent
       in investment banking working with public and private companies on everything from IPOs and M&A to debt financings and
       project finance. Founded an advisory firm in 2010 with two partners to provide financial analysis and advisory services to middle
       market companies. Immediately prior to AccuMed, worked at Newmont Mining as the Senior Manager of Projects Planning &
       Analysis.

PROFESSIONAL EXPERIENCE:

    AccuMed HealthCare Research, LLC                                                                             Chief Executive Officer
    Denver, Colorado                                                                                                 July 2018 – Present
                                                                                                                 Chief Operating Officer
                                                                                                                   July 2015 – July 2018
       ▪   AccuMed is a data analytics company that uses historical medical billing data to accurately estimate the billed charges of
           patients’ future medical needs. The company also provides analysis of reasonable value of prior medical care on a patient-
           by-patient basis.
       ▪   As Chief Executive Officer, I am responsible for all day-to-day operations including data aggregation, analysis
           methodologies and assumptions, and product development.

     Newmont Mining Corporation                                                        Senior Manager – Projects Planning & Analysis
     Greenwood Village, Colorado                                                                         December 2014 – July 2015
                                                                          Finance & Strategy Manager – Guiana Shield / Merian Mine
                                                                                                  September 2013 – December 2014
                                                                Finance & Strategy Business Partner – APAC, South America and Africa
                                                                                                  September 2012 – September 2013
                                                                                                       Strategic Planning Specialist
                                                                                                       April 2012 – September 2012
       ▪   Worked with project directors and regional leadership on major capital projects ($100 million to $6 billion) to develop
           new mines and form an investment thesis that supports the Company's strategic and financial goals. Project development
           and planning includes acquiring a full understanding of financial planning and analysis, stochastic modeling (i.e. statistical
           probabilities of potential outcomes), local tax and accounting rules, permits and project agreements, in-country social and
           environmental dynamics, and resource and mine models.
       ▪   Worked on the development and construction of Merian gold mine, a $950 million gold mine located in eastern Suriname.
           I also built Newmont’s Investment Evaluation Model that is now the standard model to evaluate all new projects company-
           wide.
       ▪   Skills included working with project directors and regional leadership to produce financial models, statistical probabilities
           of key metric outcomes, authorizations for expenditures (AFEs), presentations and memorandums presentable to the
           Newmont's Executive Leadership and Board of Directors that demonstrate the financial merits (e.g. NPV, IRR, Payback,
           etc.) of projects as well as their strategic fit in the Company.




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    Denver Energy Group, LLC                                                                                Vice President / Principal
    Denver, Colorado                                                                                     September 2010 – April 2012

      ▪      Founded company, along with two partners, in 2010 with the purpose of providing financial advisory services to middle-
             market companies. Primary duties include sourcing and executing transactions for energy-related companies with
             enterprise values ranging from $15 to $400 million. In addition to these duties, I lead company-related responsibilities
             such as employee compensation and advancement, bookkeeping, and compliance.

      ▪      Types of transactions included M&A advisories, project financings of energy infrastructure assets, equity and debt capital
             raises, monetization of tax credits through tax equity financings, and general financial advisory services.

Headwaters | MB                                                                     Vice President / Principal – Mergers & Acquisitions
Denver, Colorado                                                                                         March 2008 – September 2010
                                                                                                      Analyst – Mergers & Acquisitions
                                                                                                         September 2005 – March 2008
      ▪      Worked in several industry groups including Consumer Products, Building Products and Energy & Clean Tech providing
             M&A advisory services, equity and debt capital raises and general financial advisory services.
      ▪      The execution of these deals involved complete and thorough company due diligence, knowledge of the capital markets
             and target buyer universes, extensive financial modeling and valuation work, document negotiation, and the development
             of marketing materials such as detailed offering memorandums.

Roth Capital Partners, LLC                                                      Analyst – Corporate Finance / Mergers & Acquisitions
Newport Beach, California                                                                                August 2003 – August 2005
      ▪      Worked on PIPE transactions, follow-on offerings, initial public offerings, and fairness opinions.
      ▪      Researched, analyzed, and opined, from a financial point of view, on mergers and acquisitions involving both public and
             private companies.
      ▪      In executing these deals, I developed financial models and analyses such as comparable company analysis, precedent
             transaction analysis, DCF, discount rate derivation, dilution analysis, and various merger models.

                   ▪




EDUCATION:         + University of Colorado Boulder, Colorado
                     Leeds School of Business
                     Bachelor of Science, May 2003
                     Major: Finance
                     Honors: Certificate of Excellence in Entrepreneurial Studies

                   + Colorado School of Mines Golden, Colorado
                     Division of Economics & Business
                     Master of Science, Engineering & Technology Management
                     Completed 12 of 30 credits, 2014 to 2015




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                                        PRIOR TESTIMONY AND DEPOSITIONS




        Case                  Date                 Type           On Behalf Of           District            Case Number
Gary Nowlen v.          June 28, 2016       Trial Testimony       Plaintiff      Denver County, CO         2015CV32580
Lindsey A. Dudley
Tomasz Dubert v.        October 19, 2016    Trial Testimony       Plaintiff      Summit County, CO         2015CV030110
Casey Ferguson
Barbara Calahatian      November 1, 2016    Trial Testimony       Plaintiff      Arapahoe County, CO       2015CV32033
v. Debbie Lindsay Et
Al
Dustin Gorton v.        August 8, 2017      Deposition            Plaintiff      Arapahoe County, CO       2016CV032715
Mary L. Haerr
Gillum
Allen Roach v. Kiewit   August 17, 2017     Trial Testimony       Plaintiff      Douglas County, CO        2015CV31106
New
Mexico, CO. and
Bridgette Quintero
Sherri Davis v.         October 31, 2017    Trial Testimony       Plaintiff      Arapahoe County, CO       2016CV032809
Stephanie Barton
and Chelsea
Honzell
Francisco Guerra        November 28,        Deposition            Plaintiff      Denver County, CO         2016CV034635
v. Ian H. Agneberg      2017
Christina Gardner       December 14,        Deposition            Plaintiff      Weld Count, CO            2017CV30222
v. Pamela Dechant       2017
Rachel Miller v.        January 26, 2018    Deposition            Plaintiff      Douglas County, CO        2017CV30616
Nicole Aparicio
Cornelius Wright        May 1, 2018         Trial Testimony       Plaintiff      Arapahoe County, CO       2017CV31925
v. Tuk C. Gieswein
Calvin Moon v. Jill     May 22, 2018        Trial Testimony       Plaintiff      Douglas County, CO        2016CV30907
Gooden
Karla Stefani v.        July 11, 2018       Trial Testimony       Plaintiff      Arapahoe County, CO       2017CV31743
Carol Tipton
Nicholas Burklow        August 27, 2018     Trial Testimony       Plaintiff      Randall County, TX        70600A
v. City of Canyon,
TX
London Nuzman v.        August 14, 2018     Trial Testimony       Plaintiff      Denver County, CO         17CV31897
Trevor Obering
Maddox Seibel v.        August 14, 2018     Trial Testimony       Plaintiff      Adams County, CO          2017CV31461
Leslie Oliver
Michael Doerr v.        August 24, 2018     Deposition            Plaintiff      Federal, District of CO   1:17-CV-2198
Allstate
Bethany Anderson        September 5,        Deposition            Plaintiff      Federal, District of CO   17-CV-03016-KMT
v. American             2018
National Property
and Casualty




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Velvet Entz v. State       October 3, 2018    Trial Testimony       Plaintiff   Pueblo County, CO         2016CV30960
Farm Mutual
Automobile
Insurance
Company
Jeffery Hutchins v.        November 27,       Trial Testimony       Plaintiff   Adams County, CO          18CV30022
Michael Young              2018
and Colorado
Mustang Specialist
Leung, et al v. Aggreko,   January 3, 2019    Deposition            Plaintiff   Gwinnett County, GA       17C05511-6
LLC et al
Levi Montoya v.            March 5, 2019      Trial Testimony       Plaintiff   Adams County, CO          2017CV031941
Amanda Cosby
Nikolaus                   March 7, 2019      Evidentiary           Plaintiff   Jefferson County, CO      2018CV30882
McGannon v.                                   Hearing
Brittany Irlanda
Valerie Schultz v.         March 11, 2019     Deposition            Plaintiff   Cook County, IL           2017 L 002692
Charles Kelsh
Hector Velazquez           March 20, 2019     Deposition            Plaintiff   Federal, District of CO   18-CV-00886
v. Nestle Dreyer’s
Ice Cream Co.
Regina Frazier v.          March 28, 2019     Deposition            Defense     Seminole County, FL       2014-CA-3364-08-L
Janet Garmont
James Koukas v.            April 2, 2019      Trial Testimony       Plaintiff   Columbia County, GA       13CV0568
Patricia T. Woods
Regina Frazier v.          April 19, 2019     Trial Testimony       Defense     Seminole County, FL       2104-CA-3364-08-L
Janet Rose
Garmont
Nicole Goldberg v.         May 8, 2018        Deposition            Plaintiff   Cook County, IL           2018 L 005131
Adriana Alvarez
Linda Watts v.             July 8, 2019       Deposition            Plaintiff   Federal, District of CO   1:1CV01320WJMM
Home Depot                                                                                                EH
Nii Okai Aryeetey          July 31, 2019      Trial Testimony       Plaintiff   Boulder County, CO        2018CV030461
v. Melanie
Knowlden
Angela Hackney v.          August 14, 2019    Deposition            Plaintiff   Arapahoe County, CO       2018CV031190
Conn’s Appliances
Paul Skinger v.            August 20, 2019    Trial Testimony       Plaintiff   Weld County, CO           2018CV030772
Weld County
Sheriff’s
Department
Brian Bilbo v.             September 17,      Deposition            Plaintiff   Federal, State of AZ      V1300CV2017-
Sheldon                    2019                                                                           80299
Finkelstein
Daniel Hancock v.          September 25,      Deposition            Plaintiff   Jefferson County, CO      2018CV31842
James Leprino              2019
Lori Tucker v.             September 26,      Deposition            Plaintiff   Denver County, CO         2017CV033298
Florence Walter            2019
Patricia Nicholson         September 30,      Deposition            Plaintiff   Cook County, IL           2018 L 012969
v. Hong Lu                 2019
Jose Banuelos v.           October 15, 2019   Deposition            Plaintiff   Douglas County, CO        2018CV30581
Adam Mielcarek
Stefanie Samaras           October 15, 2019   Deposition            Plaintiff   Arapahoe County, CO       2019CV30281
v. Kara
Mikalajunas
Sharon Rozic v.            October 23, 2019   Trial Testimony       Plaintiff   Douglas County, CO        18CV031098
Reginald Ridlen


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Sharon Rozic v.         October 15, 2019    Deposition            Plaintiff   Douglas County, CO       18CV031098
Reginald Ridlen
Lori Tucker v.          October 31, 2019    Trial Testimony       Plaintiff   Denver County, CO        2017CV033298
Florence Walter
Nicole Goldberg v.      November 11,        Trial Testimony       Plaintiff   Cook County, IL          2018 L 005131
Adriana Alavarez        2019
April Boyer v.          December 12,        Deposition            Plaintiff   Federal, District of     1:18-CV-00485-
Gwendolyn Hallsmith     2019                                                  CO                       RMKLM
Cinthia Cerrito v.      December 18,        Deposition            Plaintiff   Denver County, CO        2019CV31425
Milk High Coca- Cola,   2019
LLC.
James Taylor v.         January 13, 2020    Deposition            Plaintiff   Arapahoe County,         2019CV30344
Rodney Summers                                                                CO
Jack Rooney v.          February 4, 2020    Trial Testimony       Plaintiff   Denver County, CO        17CV3132
Allstate
Yulianys Salazar v.     February 11, 2020   Trial Testimony       Plaintiff   Lehigh County Court of   2017-C-3756
Shirley J. Snyder                                                             Common Pleas, PA
Doris Johnson v.        February 19, 2020   Deposition            Plaintiff   Arapahoe County,         2019CV31898
United Parcel                                                                 CO
Service
Richard Bell v. State   March 6, 2020       Deposition            Plaintiff   Denver County, CO        2019CV32099
Farm
Arin Vanderheyden       April 3, 2020       Deposition            Plaintiff   Douglas County, CO       2019CV30487
v. Adam Burtschi,
Andrew Burtschi,
Carter True, & Ryan
Knotts
Michael Brougham        May 6, 2020         Deposition            Plaintiff   Denver County, CO        2019CV31858
v. Schindler Elevator
Corporation
Kimberly LaTour         September 17,       Deposition            Plaintiff   Adams County, CO         2019CV31800
v. O’Meara              2020
Volkswagon
Roberta Zangaris v.     September 30, 2020 Deposition             Plaintiff   Pueblo County, CO        2015CV30408
Charles Hanson, M.D.,
and Adam Zangaris
Matthew Rollins v.      November 24,        Deposition            Plaintiff   Clark County, NV         A-19-795961-C
Silverado Real          2020
Estate, LLC
Dragi Popovski v.       February 16, 2021   Deposition            Plaintiff   Laramie County,          20-CV-27-SWS
Titan Transfer, INC                                                           CO

Debbrah Courtney        February 25, 2021   Deposition            Plaintiff   Denver County, CO        2020CV030960
v. Kaitlin Bezold
and Berkshire Ins.
Jacob Orozco v.         March 8, 2021       Deposition            Plaintiff   Denver County, CO        2020CV031982
William Woolfe
Jonathan Dermon v.      March 30, 2021      Trial Testimony       Plaintiff   Douglas County,          2020CV30035
David and Pamela                                                              CO
Fairley
Luis Rosales v.         April 8, 2021       Trial Testimony       Plaintiff   Denver County, CO        2018CV33069
Walmart
Anne Rice v.            May 13, 2021        Deposition            Plaintiff   Boulder County, CO       2020CV30141
Johann Haller
Erika Higgins v.        June 10, 2021       Trial Testimony       Plaintiff   Denver County, CO        2019CV453
Molly Zimmerman


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Renee and David        June 14, 2021       Deposition            Plaintiff   Summit County, CO      2020CV030072
Gutekunst v. Vail
Summit Resorts
Christopher            June 14, 2021       Deposition            Plaintiff   Federal, District of   1:20-CV-01032-LTB
McGraw v. Cobra                                                              CO
Trucking Inc.
William Moloney v.     June 24, 2021       Deposition            Plaintiff   Clark County, NV       A-19-795183-C
Joint Chiropractic
Arlette Irrazabal v.   June 29, 2021       Deposition            Plaintiff   Los Angeles County,    20STCV00779
Jerry Maynard                                                                CA
Shipley
Anna Sietos v.         July 6, 2021        Deposition            Plaintiff   Federal, District of   1:20-CV-03101-
Owners Insurance                                                             CO                     DDD-SKC
CO
Allison Foley v.       July 13, 2021       Trial Testimony       Plaintiff   Douglas County, CO     2019CV30034
Thomas Van Oss
Lori Wareham v.        July 14, 2021       Trial Testimony       Plaintiff   Denver County, CO      19CV034581
Amanda Barnes
April Robertson v.     July 15, 2021       Trial Testimony       Plaintiff   Jefferson County, CO   2019CV31445
Ron Wick
Athanasios Hatzaras    July 16, 2021       Deposition            Plaintiff   DuPage County, IL      2019L000007
v. Joseph Hanneman
Ariana Muniz v.        August 3, 2021      Deposition            Plaintiff   Riverside County, CA   PSC1901247
Bonnie Taylor
Jeffrey Goldstrom,     August 18, 2021     Trial Testimony       Plaintiff   Arapahoe County,       2020CV3005
Chelsea Goldstrom                                                            CO
and Abbey
Goldstrom v. Jorge
Dominguez and
Allan Goldstrom
Charis Whan v.         September 17, 2021 Deposition             Plaintiff   Arapahoe County,       2021CV30520
Evergreen-Jewell &                                                           CO
Vaughn, LLC
Ariana Muniz Perales   September 21, 2021 Trial Testimony        Plaintiff   Riverside County, CA   PSC1901247
v. Bonnie Marie
Taylor
Arabella Lozano v.     November 3, 2021    Trial Testimony       Plaintiff   El Paso County, CO     20CV30257
Mathew Merveldt
Scott Herbert and      November 18, 2021 Trial Testimony         Plaintiff   Douglas County, CO     20CV30836
Jessica Herbert v.
Daniel J. Degan
James Murphy and       December 1, 2021    Deposition            Plaintiff   Federal, District of   21CV00585KLM
Margaret Murphy v.                                                           CO
Holman
Transportation
Services, Inc.
Seward Landaverde      December 13, 2021   Trial Testimony       Plaintiff   Denver County, CO      2020CV30844
v. Jack Duncan
Moorman
Antonio Zamora v.      January 13, 2022    Deposition            Plaintiff   Cook County, IL        2019L012424
AMB Industry
Groups, LLC
Timothy Bowles v.      January 18, 2022    Deposition            Plaintiff   Federal, District of   1:21-CV-00554-RBJ
Safeco Insurance                                                             CO
Company of America
Craig G.               February 14, 2022   Deposition            Plaintiff   Federal, District of   1:20-CV-02973-DDD
Weisenberger v.                                                              CO
Truett-Hurst, Inc.


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Lorraine Fowler v.      February 21, 2022   Deposition            Plaintiff   Larimer County, CO     2021CV30082
SWVP Fort Collins,
LLC
Paul Bambei v. David    February 23, 2022   Deposition            Plaintiff   Douglas County, CO     2020CV030546
Cappella and
Arapahoe Motors,
Inc.
Anthony Basil v.        April 5, 2022       Deposition            Plaintiff   Denver County, CO      2021CV030087
Brent Langford
William Moloney v.      April 6, 2022       Trial Testimony       Plaintiff   Clark County, CO       A-19-795183-C
The Joint
Chiropractic and
Eugene Garlick, DC
Lesley Owens v.         April 26, 2022      Deposition            Plaintiff   Federal, District      20-CV-01094-RBJ-
United States of                                                              Court of CO            NRN
America, C. Lewis
and Mansfield
Paul Bambei v. David    April 27, 2022      Trial Testimony       Plaintiff   Douglas County, CO     2020CV30546
Cappella and
Arapahoe Motors,
INC
Julie Herrera v.        May 20, 2022        Deposition            Plaintiff   Adams County, CO       2022CV30045
Joseph Lago
Paula Dechely v.        June 14, 2022       Trial Testimony       Plaintiff   Boulder County, CO     2019CV31015
Norman Stacey
Brendon Campbell v.     July 15, 2022       Deposition            Plaintiff   Kane County, IL        19 L 420
Sugey Jurado
Tamera Sult v.          July 27, 2022       Trial Testimony       Plaintiff   Denver County, CO      2021CV30663
Lindsey Chris
Taylor Brandstetter     August 15, 2022     Trial Testimony       Plaintiff   Larimer County, CO     2020CV30527
v. Arise Music
Festival & Groove
Medical Services
Brendon Campbell v.     August 29, 2022     Deposition            Plaintiff   Kane County, IL        19 L 420
Sugey Jurado and
Miguel Jurardo
Kelly Morse v. Eric     September 1, 2022   Deposition            Plaintiff   Cook County, IL        2019 L 009866
Eickhorst, DC,
Eickhorst Family
Chiropractic, Inc.
Jennifer Spears v.      September 29, 2022 Deposition             Plaintiff   Denver County, CO      2021CV30062
CNN Lodging LLC
Deon Griffin v.         October 4, 2022     Deposition            Plaintiff   Cook County, IL        2021-L-002906
Chicago Transit
Authority and Kelly
Boulden
Sheila McCombs v.       October 6, 2022     Deposition            Plaintiff   Federal, District of   21-cv-00286-LTB-
United States of                                                              CO                     STB
America
James Easton v.         October 18, 2022    Trial Testimony       Plaintiff   Federal, District      1:20-cv-03108
State Farm                                                                    Court of CO
Automobile
Insurance Company
Jahmal Miller v. Mile   October 19, 2022    Trial Testimony       Plaintiff   Denver County, CO      20cv03682MEH
High et al
Lora Thomas v. Rose     October 25, 2022    Trial Testimony       Plaintiff   Clear Creek County,    2020CV30033
Olsen                                                                         CO



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                                                         PUBLICATIONS

As of this disclosure I have not had any publications.




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